Case 5:19-cv-01675-SMH-MLH Document 20 Filed 01/12/21 Page 1 of 1 PageID #: 468




                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                             SHREVEPORT DIVISION

 E.C.H. o/b/o W.D.H. (XXX-XX-2660)             CIVIL ACTION NO. 19-1675

 VERSUS                                        CHIEF JUDGE S. MAURICE HICKS, JR.

 ANDREW SAUL                                   MAGISTRATE JUDGE HORNSBY

                                      JUDGMENT

         For the reasons assigned in the Report and Recommendation of the Magistrate

 Judge previously filed herein, and having thoroughly reviewed the record, including the

 written objections filed (Record Document 19), and concurring with the findings of the

 Magistrate Judge under the applicable law;

         IT IS ORDERED that the Commissioner’s decision is AFFIRMED.

         THUS DONE AND SIGNED at Shreveport, Louisiana, this the 12th day of January,

 2021.
